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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


   SYMBOLOGY INNOVATIONS,
   LLC,                                                 Case No. 2:23-cv-00320-JRG-RSP
           Plaintiff,

                 v.

   THE B-12 STORE, LLC,

                  Defendant.



                         STIPULATED MOTION FOR DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff

Symbology Innovations, LLC (“Symbology”) and Defendant The B-12 Store, LLC (“B-12”)

(collectively, the “Parties”) respectfully submit this stipulation of dismissal of Symbology’s

claims against B-12 with prejudice and B-12’s counterclaims against Symbology without

prejudice. Each party is to bear its own costs, expenses, and attorneys’ fees.




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Dated: December 5, 2023                Respectfully Submitted

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                              CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true and correct copy of the above and foregoing

document has been served on all counsel of record via the Court’s ECF system.


                                               /s/ Randall T. Garteiser
                                               Randall T. Garteiser




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